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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO −13)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See _F.Supp.3d_ (J.P.M.L. 2017). Since that time, 330 additional action(s) have been
transferred to the Northern District of Ohio. With the consent of that court, all such actions have
been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7−day period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:



                                                      Jeffery N. Lüthi
                                                      Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                 MDL No. 2804



                   SCHEDULE CTO−13 − TAG−ALONG ACTIONS



 DIST       DIV.      C.A.NO.      CASE CAPTION


ALABAMA MIDDLE

                                   Bullock County, Alabama v. AmerisourceBergen Drug
 ALM          2       18−00119     Corporation et al (JOINT ASSIGN)
                                   Barbour County, Alabama v. Purdue Pharma L.P. et al
 ALM          2       18−00121     (JOINT ASSIGN)

ALABAMA NORTHERN

  ALN         1       18−00275     Clay County, Alabama v. Cardinal Health, Inc. et al

ALABAMA SOUTHERN

                                   Clarke County, Alabama v. Amerisourcebergen Drug
  ALS         1       18−00088     Corporation et al

GEORGIA MIDDLE

                                   SUMTER COUNTY GEORGIA v.
 GAM          1       18−00043     AMERISOURCEBERGEN DRUG CORPORATION et
                                   al

KENTUCKY EASTERN

                                   Commonwealth of Kentucky et al v. McKesson
  KYE         3       18−00010     Corporation

MARYLAND

                                   Anne Arundel County, Maryland v. Purdue Pharma L.P.
  MD          1       18−00519     et al

NORTH CAROLINA WESTERN

                                   Rutherford County v. AmerisourceBergen Drug
 NCW          1       18−00047     Corporation et al

OHIO SOUTHERN
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                                   Perry County Board of County Commissioners v.
 OHS          2       18−00158     Amerisourcebergen Drug Corporation et al

PENNSYLVANIA WESTERN

                                   INDIANA COUNTY, PENNSYLVANIA v. PURDUE
 PAW          2       18−00211     PHARMA L.P. et al

TEXAS NORTHERN

 TXN          3       18−00426     County of Dallas v. Cardinal Health Inc et al

TEXAS SOUTHERN

  TXS         4       18−00490     County of Harris v. Purdue Pharma L.P. et al
